                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 DANIELLE SEAMAN, individually               )
 and on behalf of all others similarly       )
 situated,                                   )
                                             )
                       Plaintiff,            )
                                             )
               v.                            )                  1:15-CV-462
                                             )
 DUKE UNIVERSITY, DUKE                       )
 UNIVERSITY HEALTH SYSTEM,                   )
 WILLIAM L. ROPER, and DOES 1-               )
 20,                                         )
                                             )
                       Defendants.           )

                      MEMORANDUM OPINION AND ORDER

Catherine C. Eagles, District Judge.

       In 2015, Dr. Danielle Seaman, a radiologist at Duke University, inquired about a

posted opening in the UNC radiology department. Via email, the UNC department head

told her that he had confirmed that the deans at Duke and UNC had agreed not to permit

lateral moves of faculty between Duke and UNC. She has sued Duke and UNC, alleging

that this agreement not to hire the other’s medical school faculty violates the antitrust

laws and suppressed compensation throughout the defendants’ medical schools and

healthcare facilities. She seeks to certify a class of faculty, physicians, nurses, and skilled

medical staff that worked for the defendants.

       The plaintiff has met the class certification standards in Rule 23(a) and Rule

23(b)(3) for faculty members. Inclusion of non-faculty in the class, however, would

inject issues that cannot be resolved based on the proof offered for the faculty case,




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would cause significant confusion at trial, and would raise difficult manageability

problems. Therefore, the Court will grant the motion, in part, to certify the proposed

class to the extent it includes faculty. The Court will deny the motion for class

certification as to all other proposed class members.

                                    BACKGROUND

       The plaintiff Dr. Seaman was an Assistant Professor of Radiology at Duke

University School of Medicine from 2011 to 2016. Doc. 85 at ¶ 2. The defendants are

Duke University, Duke University Health Systems, Dr. William Roper, the University of

North Carolina at Chapel Hill, the University of North Carolina School of Medicine, the

University of North Carolina Health Care System and Does 1-20.

       Dr. Seaman applied for a position at UNC in 2015. In response, a UNC radiology

department chief told her in an email that “lateral moves of faculty between Duke and

UNC are not permitted” due to a “‘guideline’ which was agreed upon between the deans

of UNC and Duke a few years back.” Doc. 88-62 at 2.

       Dr. Seaman alleges that the defendants conspired and agreed that the Duke

defendants would not hire or attempt to hire faculty1 employed by the UNC defendants,



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     Dr. Seaman’s expert defines “faculty” to include employees who have an academic
appointment at the Duke or UNC Schools of Medicine. Doc. 94 at ¶ 14. There was some
question about whether physicians without an academic appointment should be included in the
faculty category. The plaintiff is not sure whether the no-hire agreement was applied to
physicians without an academic appointment, Doc. 187 at 83-84, and these physicians were
included in Dr. Seaman’s non-faculty analysis. See id. at 6-7. For these reasons, the Court
considers physicians that do not have an academic appointment at the Duke or UNC Schools of
Medicine to be non-faculty.



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and vice-versa.2 The only exception to this alleged agreement was for faculty who

received a promotion when they were hired. Doc. 109 at ¶ 47. Dr. Seaman alleges that

the defendants historically have had the no-hire agreement, but that the agreed-to hiring

restraints were “tighten[ed] up” in 2012 following the Duke defendants attempt to recruit

the UNC bone marrow transplant physician faculty. Doc. 93 at 17; see also Doc. 109 at ¶

59. According to Dr. Seaman, the no-hire agreement suppressed compensation for the

defendants’ faculty, physicians, nurses, and other skilled medical staff.

       After discovery on the class certification issue was complete, Dr. Seaman and the

UNC defendants settled. The Court approved the settlement.3

       As against the Duke defendants and pursuant to Federal Rule of Civil Procedure

23, Dr. Seaman asks the Court to certify the following class:

       All natural persons employed by Defendants and their co-conspirators in the
       United States during the period from January 1, 2012 through the present (the
       “Class Period”) as a faculty member, physician, nurse, or other skilled
       medical employee. Excluded from the Class are: members of the boards of
       directors and boards of trustees, boards of governors, and senior executives

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      In her complaint, Dr. Seaman alleges that the no-hire agreement extended to “skilled
medical labor, including medical facility faculty,” see Doc. 109 at ¶ 1; however, in her class
certification briefing and supporting expert reports she only alleges that the no-hire agreement
restricted recruitment of faculty. See, e.g., Doc. 93 at 12-20. At the hearing, Dr. Seaman’s
counsel confirmed it had no direct evidence of an agreement as to non-faculty and admitted the
only circumstantial evidence was the evidence about the agreement as to faculty. Doc. 187 at
23-24. The Court will evaluate the facts for purposes of class certification under the more
limited allegations provided in Dr. Seaman’s class certification briefing.
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     The Court has approved a class settlement between Dr. Seaman, class plaintiffs, and the
following defendants: Dr. William Roper, the University of North Carolina at Chapel Hill, the
University of North Carolina School of Medicine and the University of North Carolina Health
Care System. Doc. 185. Final judgment has been entered on claims between these parties as
well. Doc. 186. The settlement class has a different class definition from the proposed class at
issue in the pending motion. See Doc. 81 at 1-2; Doc. 108 at 2-3 (defining settlement class).


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       of Defendants and their co-conspirators who entered into the illicit
       agreements alleged herein; and any and all judges and justices, and
       chambers’ staff, assigned to hear or adjudicate any aspect of this litigation.

Doc. 87 at 1. Dr. Seaman also asks the Court to appoint her as class representative and

Lieff, Cabraser, Heimann & Bernstein, LLP, and Elliot Morgan Parsonage, P.A., as class

counsel.

                       OVERVIEW OF QUESTION PRESENTED

        “The class action is an exception to the usual rule that litigation is conducted by

and on behalf of the individual named parties only.” Comcast Corp. v. Behrend, 569

U.S. 27, 33 (2013).4 To show that a case falls within the exception, the plaintiff “must

affirmatively demonstrate his compliance” with Federal Rule of Civil Procedure 23.

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).

       As threshold matters, the putative class representative must show that she is a

member of the proposed class, see Fed. R. Civ. P. 23(a), and must establish that the

members of the proposed class are “readily identifiable” or “ascertainab[le].” EQT Prod.

Co. v. Adair, 764 F.3d 347, 358 (4th Cir. 2014). The plaintiff must then establish that the

case satisfies all four requirements of Rule 23(a) and fits into at least one of the three

subsections of Rule 23(b). Comcast, 569 U.S. at 33. Here, the plaintiff relies on Rule

23(b)(3), which requires that common issues predominate and that a class action is the

superior method for resolution of the issues.



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     The Court omits internal citations and quotation marks from all cited cases in this opinion,
unless otherwise noted. See United States v. Marshall, 872 F.3d 213, 217 n. 6 (4th Cir. 2017).


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        The Duke defendants do not seriously contend that the requirements of Rule 23(a)

are not met, and the dispute centers on whether common issues predominate and the

related question of manageability. “Considering whether questions of law or fact

common to class members predominate begins, of course, with the elements of the

underlying cause of action.” Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804,

809 (2011). To establish an antitrust violation, a plaintiff must prove (1) a violation of

antitrust law, (2) impact to the plaintiff caused by the violation, and (3) damages

sustained by the plaintiff. Deiter v. Microsoft Corp., 436 F.3d 461, 467 (4th Cir. 2006).

        Dr. Seaman contends that the predominance requirement is met because all three

elements of the antitrust claim—violation, impact, and damages—can be proven with

common evidence for all class members. The Duke defendants contend that antitrust

impact and damages cannot be proven with common evidence and that individual issues

on these claim elements will predominate such that class certification is not appropriate.

                                        ANALYSIS

I.      RULE 23(b)

        There are two requirements under Rule 23(b)(3): predominance and superiority.

EQT, 764 F.3d at 357. These requirements relate to the manageability of a class action,

which is “a practical problem, and primarily a factual one with which a district court

generally has a greater familiarity and expertise.” See Windham v. Am. Brands, Inc., 565

F.2d 59, 65 (4th Cir. 1977) (en banc). For this reason, trial courts have “a wide range of

discretion” in evaluating whether the requirements of Rule 23(b)(3) have been met. Id.;

Reiter v. Sonotone Corp., 442 U.S. 330, 345 (1979) (noting that district courts “have

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broad power and discretion vested in them” as to the “certification and management of

potentially cumbersome” class actions).

       The predominance requirement is satisfied when “questions of law or fact

common to the members of the class predominate over any questions affecting only

individual members.” Gariety v. Grant Thornton, LLP, 368 F.3d 356, 362 (4th Cir.

2004); see also Fed. R. Civ. P. 23(b)(3). “An individual question is one where members

of a proposed class will need to present evidence that varies from member to member,

while a common question is one where the same evidence will suffice for each member

to make a prima facie showing or the issue is susceptible to generalized, class-wide

proof.” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016). In practice, the

predominance requirement asks whether a trial meant to resolve class-wide issues is

manageable or whether it is likely to devolve into a series of mini-trials examining

questions specific to individual plaintiffs. See Thorn v. Jefferson-Pilot Life Ins. Co., 445

F.3d 311, 328-29 (4th Cir. 2006) (upholding district court’s denial of class certification).

       “The superiority requirement ensures that a class action is superior to other

available methods for the fair and efficient adjudication of the controversy.” Thorn, 445

F.3d at 319; see also Fed. R. Civ. P. 23(b)(3). This inquiry looks at whether the class

action “would achieve economies of time, effort, and expense, and promote . . .

uniformity of decision as to persons similarly situated.” Amchem Prods., Inc. v. Windsor,

521 U.S. 591, 615 (1997).

       Dr. Seaman must provide evidentiary proof that the requirements of Rule 23(b)(3)

are met. Comcast, 569 U.S. at 33. This Court must rigorously assesses that evidence and

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make findings as to whether the Rule 23 requirements have been met, Gariety, 368 F.3d

at 359, and, where necessary, it must “resolve a genuine legal or factual dispute relevant

to determining the requirements.” In re Hydrogen Peroxide Antitrust Litig., 552 F.3d

305, 320 (3d Cir. 2008).5 However, “Rule 23 grants courts no license to engage in free-

ranging merits inquiries at the certification stage.” Brown v. Nucor Corp., 785 F.3d 895,

903 (4th Cir. 2015) (quoting Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S.

455, 466 (2013)). Rather, “the merits of a claim may be considered only when relevant

to determining whether the Rule 23 prerequisites for class certification are satisfied.” Id.

Persuasiveness of the class-wide evidence is, in general, a matter for a jury. Tyson

Foods, 136 S.Ct at 1049.6

       A. Antitrust Violation

       Both parties will present common evidence to determine whether the defendants

did, or did not, enter into a no-hire agreement that violated Section 1 of the Sherman

Antitrust Act. As previously mentioned, Dr. Seaman received an e-mail from a UNC

School of Medicine department chief that indicates there was an agreement with Duke

not to hire each other’s faculty. Doc. 88-62 at 2. In addition, Dr. Seaman will rely on



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     The findings stated in this Order apply only to the motion for class certification. See
Gariety, 368 F.3d at 366 (noting that if the jury or factfinder’s “finding on any fact differs from a
finding made in connection with class action certification, the ultimate factfinder’s finding on the
merits will govern the judgment.”).
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     Of course, if no reasonable juror could believe the class-wide evidence, Dr. Seaman would
lack common proof. Tysons Food, 136 S. Ct at 1049 (comparing class certification standards to
standards for summary judgment and directed verdict). That does not appear to be the case on
the current record, and any arguments that Dr. Seaman’s evidence fails to prove some elements
of her claim can be addressed at summary judgment or at trial. Id. at 1047.
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testimony from the defendants’ employees as well as the defendants’ internal and

external correspondence discussing recruitment to prove that the no-hire agreement

existed and was enforced. See Doc. 93 at 12-20 (citing depositions of Dr. Roper, Dr.

Molina, John Burness, and defendants’ correspondence). Likewise, Duke has indicated

that it will dispute the existence of the no-hire agreement with common evidence, such as

testimony from the employees alleged to have made and enforced the agreement. See

Doc. 187 at 78-81. There is no indication that individual questions will arise in

determining whether the defendants violated the Sherman Act. The Court finds that the

issue of antitrust violation is a common question that will be addressed with common

proof for all proposed class members.

       B. Antitrust Impact and Damages for Faculty

          1. Impact

       Antitrust impact is “injury [that] reflect[s] the anticompetitive effect either of the

violation or of anticompetitive acts made possible by the violation.” Brunswick Corp. v.

Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977). Dr. Seaman asserts that common

evidence can be used to demonstrate that the alleged no-hire agreement had an antitrust

impact on all or nearly all of the proposed class members because the agreement

suppressed the class members’ compensation.

       Dr. Seaman contends that the no-hire agreement had an antitrust impact on faculty

compensation in two ways. First, she asserts that because of the no-hire agreement the

UNC and Duke defendants did not have to provide preemptive compensation increases

for faculty that otherwise would have been needed to ensure employee retention, which

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suppressed compensation across the faculty. See, e.g., Doc. 94 at ¶¶ 44, 59, 62, 72, 83

(plaintiff’s expert Dr. Leamer explaining economic theory of impact). Second, she

asserts that the defendants’ internal equity structures—policies and practices that are

alleged to have ensured relatively constant compensation relationships between

employees— spread the individual harm of decreased lateral offers and corresponding

lack of retention offers to all faculty, thus suppressing compensation faculty-wide. See,

e.g. Doc. 94 at ¶¶ 63, 68, 71, 81-82. Dr. Seaman has presented documentary and

testimonial evidence and expert reports that include economic theory, statistical

modeling, and data to support her theories, which are summarized below. Collectively,

this evidence supports her theories that the alleged no-hire agreement caused preemptive

faculty-wide compensation suppression and individual faculty compensation suppression

that spread to all faculty through the defendants’ internal equity structures.

       As explained below, these antitrust impact theories and the proffered evidence in

support of the theories are common to all faculty: proving either theory for a single

faculty class member would prove it for all, without the need for individual inquiry. The

Court therefore finds that Dr. Seaman’s theories of anti-trust impact to faculty present

common questions for which common proof will be proffered.

                  a. The relationship between lateral hiring and faculty
                     compensation

       Dr. Seaman offers evidence that the Duke and UNC defendants were unique

competitors for faculty who want to remain in the Durham/Chapel Hill area and that

restrictions on lateral hiring between the two would limit preemptive and retroactive


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compensation increases causing compensation suppression for all faculty.7 See Doc. 93

at 11-12, 21-22. The former President of Duke University and the Dean of the Medical

School at UNC acknowledge in their testimony that the Duke and UNC medical schools

are each other’s closest peers, and an internal Duke analysis shows the Duke medical

school’s next closest competitor for faculty is 300 miles away. See Doc. 96-5 at 6, 9

(deposition testimony of former president of Duke University); Doc. 88-8 at 99 (Dr.

Roper testifying that the “amount of [competitive] sensitivity is inverse to the geographic

distance”). Further, Dr. Seaman’s experts, Dr. Leamer and Dr. Cappelli, reviewed the

competitive nature of the relationship between the Duke and UNC medical schools and

opined that their geographic proximity and similar rankings makes them each other’s

main competitors for physicians who want to live in the Durham-Chapel Hill area. See,

e.g., Doc. 95 at ¶¶ 22-25; Doc. 94 at ¶¶ 16-24; Doc. 151 at ¶¶ 12-20.

       Dr. Leamer and Dr. Cappelli offer opinions about how lateral hiring affects

compensation generally and how it applies to the defendants, concluding that lateral

hiring competition between the defendants would encourage the defendants to

preemptively increase compensation to retain faculty. See Doc. 94 at ¶ 57; Doc. 95 at ¶¶

70-76. Dr. Seaman also provides evidence to corroborate that the general economic

theory is applicable to the Duke and UNC defendants, relying on testimony from former




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     The UNC School of Medicine is located approximately 12 and 30 miles from the Duke
University Hospital and Duke Raleigh Hospital, respectively. Doc. 94 at ¶ 16. According to the
plaintiff’s expert, these facilities are located within the same “commuting zone.” Id. at ¶ 17.
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and current Duke employees about the need to increase salaries to prevent lateral moves.

See, e.g., Doc. 93 at 21 (citing Doc. 96-56); Doc. 94 at ¶ 62.

       This is a class-wide theory supported with class-wide proof.

                  b. The relationship between internal equity structures and faculty
                     compensation.

       According to Dr. Seaman, the no-hire agreement prevents one defendant’s

individual faculty member from receiving a lateral offer from the other defendant and

consequently also prevents receipt of a corresponding retention offer from the current

employer, which would increase that faculty’s salary to retain the employee. She does

not seek to prove impact on any particular faculty member in this situation, and instead

she will rely on experts who opine that this individual faculty compensation suppression

was spread to all faculty through the defendants’ internal equity structures.

       Dr. Leamer and Dr. Cappelli explain that employers reactively increase

compensation in response to a competing offer or to address overall attrition rates and

that this general economic theory is applicable to the defendants. See Doc. 94 at ¶ 57;

Doc. 95 at ¶¶ 65-77. Dr. Seaman provides evidence that both defendants have

historically increased salaries for faculty to retain them in the face of competing offers.

See Doc. 93 at 22-23 (explaining examples supported by Docs. 96-28, 96-29, 96-33, 96-

35, 96-46, 96-47, 96-61, 88-64); Doc. 93 at 16-17 (discussing Duke’s recruitment of

UNC’s bone marrow transplant team supported by Docs. 96-62, 96-63, 96-88).

       Dr. Seaman also provides evidence that the lack of competing offers and

corresponding individual compensation suppression was spread to all faculty members


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through the defendants’ internal equity structures. Dr. Leamer and Dr. Cappelli explain

the general economic theory of how lateral hiring increases compensation for employees

throughout an organization when that organization manages employee compensation to

maintain parity within employment categories or to achieve compensation relationships

between employee categories (e.g., Associate Professors to Assistant Professors). Doc.

95 at ¶¶ 43-49; Doc. 94 at ¶¶ 80-83.

       Dr. Seaman provides documentary and testimonial evidence that Duke and UNC

maintain internal equity structures for faculty. The evidence shows that the UNC

defendants have policies that “set[] out identical salary ceilings across 18 departments by

professor level” and expects departments “to work towards or maintain average salary

profiles by academic rank …; enable recruitment and retention …; [] promote a good

morale and sense of fair treatment amongst the faculty;” and consider “internal equity

among groups of otherwise similarly-situated individuals in the [medical school]

department.” Doc. 151 at ¶¶ 33-39 (summarizing evidence). The UNC defendants also

perform annual “Salary Equity Review[s]” to “identify[] instances of potential salary

inequity amongst like subsets of faculty” and requires an explanation or remedial plan for

any inequality that is discovered. Id. at ¶ 39.

       While the evidence at Duke is less direct, it shows that the Dean of the School of

Medicine “signs off” on all department head compensation decisions. See, e.g., Doc. 151

at ¶¶ 46, 49. For both new faculty and adjustments to current faculty’s compensation,

there is documentary evidence and testimony to support the assertion that internal equity

is considered in setting and adjusting compensation, particularly within each department.

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See, e.g., Doc. 151 at ¶¶ 46-51, 54; Doc. 150 at ¶¶ 31, 33, 44-48; Doc. 94 at ¶¶ 91, 93,

97-98, 100; Doc. 95 at ¶¶ 54, 58(d), (e).

       Finally, Dr. Seaman provides Dr. Leamer’s “sharing” regression analyses that

examine how an individual faculty member’s compensation moved in relationship to

other faculty compensation. See Doc. 94 at ¶¶ 102-08, 110-11. This analysis shows that

there is a correlation between faculty compensation and provides further support for Dr.

Seaman’s theory that the defendants managed faculty compensation with internal equity

structures.

       This is a class-wide theory supported with class-wide proof.

              2. Damages

       Dr. Seaman proposes calculating damages attributable to the no-hire agreement in

the same manner for all faculty class members and using common evidence from Dr.

Leamer about reduced “returns to seniority.” “Returns to seniority” are compensation

increases associated with increases in experience, i.e., individual faculty members are

typically paid more as they obtain more experience. See Doc. 94 at ¶¶ 54, 113, 120. Dr.

Leamer’s calculations provide estimates (one for UNC faculty and one for Duke faculty)

of how much returns to seniority are suppressed for all faculty in the presence of the no-

hire agreement. See, e.g., Doc. 94 at Figure 9, ¶ 123; Doc. 150 at ¶¶ 113-116 (Dr.

Leamer’s explanation of how baseline returns to seniority may be calculated based on

returns to seniority experienced by new recruits at previous jobs, or by comparing returns

to seniority in the class period to pre-class period).



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       Specifically, Dr. Leamer conducts regression analyses using common data—

payroll and other employment records for all faculty—to estimate the suppressed returns

to seniority for faculty at UNC and Duke. Doc. 94 at ¶¶ 115-123. Dr. Leamer applies his

regression results to the faculty compensation data—common data—to develop an

aggregate class-wide damages estimate for faculty. Doc. 94 at ¶ 125, Figure 12. This

analysis is consistent with Dr. Seaman’s theory of anti-trust impact to faculty—it

purports to measure faculty-wide compensation suppression that is attributable to the no-

hire agreement, which is the particular antitrust impact that Dr. Seaman alleges. See

Comcast, 569 U.S. at 37-38.

       The Court finds that Dr. Seaman’s proposed method for calculating faculty

damages presents common questions for faculty and will be based on proof common to

the faculty.

       C. Antitrust Impact & Damages for Non-Faculty

           1. Impact

       As noted, supra at n. 2, Dr. Seaman does not seriously contend that the no-hire

agreement applied to non-faculty. She does assert that the no-hire agreement as to

faculty and the resulting suppression of faculty compensation spread to all non-faculty

through the defendants’ internal equity structures. This theory presents common

questions for a class composed of non-faculty because proving the theory for a single

non-faculty class member would prove it for all.

       While the economic theory of internal equity on which Dr. Seaman relies is the

same for faculty and non-faculty, see, e.g., Doc. 94 at ¶¶ 45, 79, 82, 84 (Dr. Leamer

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explaining economic theory of impact that applies to non-faculty), the evidence is

different. The documentary and testimonial evidence of internal equity for non-faculty is

specific to non-faculty. See Doc. 151 at ¶¶ 27-32, 41-44 (summarizing evidence that both

Duke and UNC use rigid step-wise pay tiers for non-faculty that provide a mechanism for

spreading compensation affects throughout the non-faculty class). Dr. Leamer’s non-

faculty sharing regression analysis is similar to the faculty sharing regression, but

analyzes different compensation metrics. Doc. 94 at ¶¶ 137, 139 (explaining different

analyses for faculty and non-faculty). Further, an additional evidentiary step is required

for non-faculty: Dr. Leamer’s separate regression analysis that purports to show sharing

of compensation impacts between faculty and non-faculty. Doc. 94 at ¶¶ 109, 140. This

step connects the non-faculty evidence to the no-hire agreement’s alleged impact on

faculty compensation.

       Dr. Seaman’s evidence of antitrust impact for non-faculty based on this

generalized compensation suppression theory is common to all non-faculty and will not

require separate inquiry for individual non-faculty claims. This evidence consists of

expert evidence providing economic theory and statistical analysis that is backed up, in

part, by documentary and testimonial evidence. The Court finds that, for a class

composed of non-faculty, the issue of antitrust impact presents common questions that

can be addressed with common proof.

       In addition, Dr. Seaman also contends that the no-hire agreement affected a subset

of non-faculty more directly because they missed out on compensation increases

associated with lateral moves undertaken in connection with a faculty-lead team. See

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Doc. 109 at ¶ 39; Doc. 93 at 24. She has not articulated how non-faculty compensation

overall, as opposed to at an individual level, would be affected under this theory. Unlike

with faculty, there is no evidence that non-faculty received retention offers or preemptory

compensation increases in this context, which compensation increases would then be

spread to other non-faculty through the internal equity theory discussed supra. At most,

Dr. Seaman asserts that faculty sought compensation increases for non-faculty who

undertook lateral moves with them, see Doc. 93 at 24,8 but this assertion only supports

individualized impact to those faculty members who would have received increased

compensation in a lateral move. She has not offered any expert analysis specific to this

theory that indicates class-wide impact. While the plaintiff’s briefing does not fully flesh

out this theory, it only appears to support finding impact to individuals and not to non-

faculty as a whole or the class as a whole. The Court finds that this theory of impact does

not present a common question or common proof for non-faculty.

           2. Damages

       Dr. Seaman proposes calculating damages attributable to the no-hire agreement in

the same manner for all non-faculty class members and using common evidence. She

relies on Dr. Leamer’s analysis, which takes the faculty damages analysis and applies an

additional step. He starts with the estimates of how much returns to seniority are

suppressed for all faculty in the presence of the no-hire agreement. He then passes these



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      The Court notes that this appears to be a bald allegation at this stage. The documentary
evidence cited in support, Doc. 93 at 24 n. 58, does not provide any indication or confirmation
that faculty seek compensation increases for non-faculty during lateral moves.
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estimates through the sharing regression that he calculated in support of finding that

faculty compensation suppression spreads to non-faculty. Doc. 94 at ¶¶ 126-27. Finally

he applies the results to common non-faculty compensation data to develop an aggregate

class-wide damages estimate for non-faculty. Doc. 94 at Figure 13. Dr. Leamer’s

calculation of non-faculty damages is consistent with Dr. Seaman’s internal equity theory

of anti-trust impact to non-faculty. See Comcast, 569 U.S. at 37-38.

       The Court finds that Dr. Seaman’s proposed method for calculating damages for

non-faculty class members based on an internal equity theory presents common questions

for non-faculty and will be based on proof common to the non-faculty.

       She has offered no damages evidence in support of her “lateral move with a team”

theory. Moreover, it appears that such evidence would be individual, not class-wide.

       D. Weighing Predominance and Superiority

       Finding that an antitrust violation is based on common questions and evidence is

not sufficient to establish predominance. Rather, this must be considered in relation to

the questions and evidence that will be presented for the antitrust impact and damages

elements. See Windham, 565 F.2d at 66-72 (upholding district court’s determination that

antitrust violation issue did not predominate in the face of individual impact and damages

issues). Even if common questions and proof would predominate, a court may deny

certification if class adjudication is not manageable or would be unfair. See Fed. R. Civ.

P. 23(b)(3) (requiring class action be the superior method “for fairly and efficiently

adjudicating the controversy”); see also Reiter, 442 U.S. at 345 (recognizing the district



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court’s discretionary authority to refuse to certify potentially cumbersome class actions

with manageability issues).

           1. Faculty

       Dr. Seaman’s theories of violation, antitrust impact, and anti-trust damages present

common questions for faculty members and she presents common proof to support her

claims. There is no indication that Dr. Seaman’s proof for faculty is susceptible to

individualized inquiry, that it is so unreliable no juror could believe it, or that it is not

probative. The Court finds that, with respect to faculty, common questions will

predominate over individualized questions. This Court finds that a class action is the

superior method of adjudicating the faculty class member claims because the individual

damages are insufficient to warrant individual litigation, there are no related cases

pending, the forum is convenient, and a unitary adjudication will be more efficient than

individual adjudications. See Fed. R. Civ. P. 23(b)(3); Amchem, 521 U.S. at 615; Thorn,

445 F.3d at 319.9




   9
     In their briefing, neither Dr. Seaman nor Duke addressed how class-wide damages, if
established, would be allocated to individual class members. The Court has considered this issue
and does not anticipate that allocation to individual faculty members would create individual
issues that predominate over other faculty damages issues, as it appears. That is because Dr.
Seaman’s theories of impact and her class-wide damages calculations would support a formulaic
class-wide approach to distribution of the aggregate class-wide damages using the common
employment data. See In re Titanium Dioxide Antitrust Litig., No. RDB-10-0318, 2013 WL
1855980, at *16 (D. Md. May 1, 2013) (noting that at class certification “th[e] Court …
recognized [class-wide] options for determining individual damages” following an aggregate
damages award); Rubenstein, Newberg on Class Actions § 12:2 (5th ed., Dec. 2017 Update).



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        The Duke defendants identify individual issues that they contend undermine

predominance, but none of these individual issues align with Dr. Seaman’s theories of

liability. Duke’s briefing presumes that each class member is seeking damages based on

the impact of enforcing the agreement against the individual class member in particular.10

But “the choice of the injury to assert is in the plaintiff’s hands,” American Bar

Association, Proving Antitrust Damages: Legal and Economic Issues, 8 (3d ed. 2017),

and Dr. Seaman chose to assert theories of class-wide impact, not individual impact.

Individual issues arising under a theory of liability that Dr. Seaman does not assert do not

defeat predominance because there is no reason to think that those issues will present

themselves in the adjudication.

        Duke also asserts that Dr. Seaman’s proposed common proof is unsupported,

insufficient, or otherwise flawed and, therefore, that Dr. Seaman has not established that

common issues will predominate over individual issues. See, e.g., Doc. 127 at 27-40

(asserting that internal equity structures have not been established), at 23-27 (asserting

that unique competitive relationship between Duke and UNC is not present), at 30-41

(asserting that Dr. Leamer’s analysis is flawed but not moving to exclude it). Duke does

not argue, and this Court does not find, that no reasonable juror could believe Dr.


   10
       For example, Duke asserts that individualized proof will be required to show that the
agreement actually restrained the movement of each particular faculty member and that each
faculty member was embedded in the area such that the agreement affected them. Doc. 127 at
20-21, 26-27; see also Doc. 187 at 77-78. The fact that there may be some evidence about
individual situations does not defeat predominance because the plaintiff’s theory does not require
her to prove that the movement of every faculty member was restrained or that every faculty
member was embedded in the area. Evidence that this was or was not the case for individuals
may well be relevant to support or rebut the assumptions underlying the plaintiff’s theories. But
this is in effect common evidence, and individual questions will not require resolution.
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Seaman’s common evidence such that her proffered evidence should be disregarded.

Duke’s assertions, therefore, go to the persuasiveness of Dr. Seaman’s evidence and do

not negate the fact that her evidence is common proof.

           2. Non-Faculty

       Dr. Seaman’s theories and evidence differ between faculty and non-faculty class

members. It is apparent from the briefing on this motion and on the plaintiff’s motion to

exclude defendants’ experts that the inclusion of faculty and non-faculty in the same class

is likely to cause significant confusion. Disputes already have arisen as to whether

witnesses are talking only about faculty, only about non-faculty, or both. See Doc. 163 at

22-23. And there are extra steps required for a finding of anti-trust impact and damages

as to non-faculty as compared to faculty; these are not minor steps, but include detailed

and complicated expert statistical analyses and additional fact witnesses. Moreover, the

evidence as to non-faculty is substantially weaker, at least on this record, since it is based

on several inferences-on-inferences; this gives rise to the possibility that the strength of

the faculty claim or the weakness of the non-faculty claim might tend to bleed over to the

other claim in the jury’s mind. Finally, the plaintiff has put forth one theory as to non-

faculty that seems to be driven by individualized evidence.

       Collectively these problems—different evidence, the likelihood of substantial

confusion, potential for unfairness at trial, and the possibility of individual issues as to

non-faculty—will make it very difficult to manage the class. Trial of the relatively

straightforward faculty claims would be unduly complicated and there is a real potential

for unfairness to both the class members and the defendant. For these reasons the Court

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finds that including non-faculty in the class would defeat predominance and superiority.11

Reiter, 442 U.S. at 345 (recognizing the district court’s discretionary authority to refuse

to certify potentially cumbersome class actions with manageability issues).

II.        RULE 23(a)

           Duke does not seriously dispute that Dr. Seaman has met the requirements of Rule

23(a). As the discussion that follows shows, the record is clear that these requirements

have been met as to the faculty class.12

           As an initial matter, the Court finds that Dr. Seaman is a member of the proposed

faculty class. She worked for the defendant Duke University from 2011 until 2016 as a

Medical Instructor and Assistant Professor of Radiology. Doc. 85 at ¶ 2. The Court also

finds that other members of the proposed faculty class are ascertainable. The defendants

keep adequate records of their faculty and those persons are easily identifiable. See Doc.

94 at ¶ 14, Figure 1 (Dr. Leamer’s report identifying other members of the class).

      A. Numerosity

           The plaintiff’s proposed class includes approximately 5,469 faculty members. Id.;

Doc. 93 at 27. Several thousand persons “is so numerous that joinder of all members is

impracticable.” Fed. R. Civ. P. 23(a)(1); see Cent. Wesleyan Coll. v. W.R. Grace & Co.,




      11
      Non-faculty class members may pursue a separate class action and obtain the
corresponding economies of time, effort, and expense, and uniformity of decision. See Amchem,
521 U.S. at 615.
      12
      Since the Court has concluded that a non-faculty class is not manageable, the Court need
not address the Rule 23(a) requirements as to it.


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6 F.3d 177, 183 (4th Cir. 1993) (noting district court’s finding “that some 480 potential

class members would easily satisfy the numerosity requirement”). The proposed class

meets the numerosity requirements of Rule 23(a)(1), and the Court so finds.

   B. Commonality

       To satisfy the commonality requirements, there must be “questions of law or fact

common to the class.” Fed. R. Civ. P. 23(a)(2). Commonality does not require that all,

or even most questions be common and “even a single common question will do.”

Dukes, 564 U.S. at 359.

       This case presents at least one question common to the faculty—whether the no-

hire agreement existed. See supra at pp.7-8. This one common issue is sufficient to meet

the Rule 23(a)(2) requirements, see Dukes, 564 U.S. at 369, and the Court so finds.

   C. Typicality

       To satisfy the typicality requirement, the claims of the named plaintiff must be

typical of the claims of the class. Fed. R. Civ. P. 23(a)(3). “The typicality requirement is

met where the claims asserted by the named plaintiffs arise from the same course of

conduct and are based on the same legal theories as the claims of the unnamed class

members.” Tatum v. R.J. Reynolds Tobacco Co., 254 F.R.D. 59, 65 (M.D.N.C. 2008).

       In this case, Dr. Seaman’s claims and the faculty class members’ claims are based

on the same alleged facts and legal theory—that a no-hire agreement existed between the

defendants and that the agreement injured the faculty by suppressing their compensation

and causing monetary damages. Therefore, this Court finds that the typicality

requirement of Rule 23(a)(3) is satisfied.

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   D. Adequacy

        Rule 23(a)(4) requires that class representatives “fairly and adequately protect the

interests of the class.” Fed. R. Civ. P. 23(a)(4). It “serves to uncover conflicts of interest

between named parties and the class they seek to represent,” as well as “competency and

conflicts of class counsel.” Amchem, 521 U.S. at 625 & n.20.

        Dr. Seaman has declared that she will fairly and adequately represent the interests

of the class. She has provided answers to interrogatories and documents in response to

discovery, which shows commitment to the case. Doc. 85 at ¶¶ 5-7.

        While the parties have not identified any conflicts among the class members’

interests, one concern has arisen. The defendants may attempt to assert res judicata to bar

future claims that are based on a theory of individual impact and damages attributable to

the no-hire agreement.13 In the Court’s view res judicata should not bar future claims

based on theories of individual impact and damages because those individual theories are

not included in this certification order and may not be brought in this case. See Cooper v.

Fed. Reserve Bank of Richmond, 467 U.S. 867, 880 (1984). The risk of any such conflict

also is small because there have not been any other antitrust claims brought against the

defendants based on the no-hire agreement. The Court finds that this small risk can be




   13
     For example, the agreement may have suppressed an individual’s compensation under Dr.
Seaman’s theories of class-wide liability, but the agreement also may have impacted and
damaged an individual who missed out on increased compensation associated with a lateral
move or lateral move offer. The class-wide and individual theories of impact and damages are
not mutually exclusive, but only the class-wide theories are being asserted in this case.
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managed via a disclosure in the class notice, see Doc. 187 at 10-11 (Dr. Seaman’s

counsel discussing opt-out notice), or other mechanism.

       The Court also reviewed qualifications of proposed class counsel, see Docs. 83

and 84, and finds that they meet the requirements of Rule 23(g).

       Dr. Seaman is an appropriate class representative and Lieff, Cabraser, Heimann &

Bernstein, LLP, and Elliot Morgan Parsonage, P.A., are appropriate class counsel. The

Court finds the requirements of Rule 23(a)(4) are satisfied.

                                      CONCLUSION

       Dr. Seaman has met the Rule 23 requirements for certification of a class composed

of faculty members. She has met the Rule 23(b)(3) requirements by demonstrating that

questions and proof common to the faculty will predominate over any individual

questions and proof and that class adjudication is the superior method of adjudication for

faculty. All of her asserted theories and proposed proof are common to a class composed

of faculty. Inclusion of the proposed non-faculty class members would involve

differences in proof and would raise significant manageability and fairness issues so that

certification of a class including non-faculty is not appropriate.

        Dr. Seaman also has met the Rule 23(a) requirements. She established that she is

a member of the faculty class and that the other faculty class members are ascertainable.

She has established that a class composed of faculty members satisfies the numerosity,

commonality, and adequacy of representation requirements of Rule 23(a)(1), (2), and (4).

Dr. Seaman is a member of the proposed class and therefore satisfies the typicality

requirement of Rule 23(a)(3).

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   For these reasons, the Court will certify a class of faculty members.

   It is ORDERED that:

   1. The plaintiff’s motion for certification of a litigation class, Doc. 87, is

      GRANTED, in part, and the following faculty class is certified:

                   All natural persons employed by Defendants and their
          co-conspirators in the United States during the period from
          January 1, 2012 through the present (the “Class Period”) as a
          faculty member with an academic appointment at the Duke or
          UNC Schools of Medicine. Excluded from the Class are:
          members of the boards of directors and boards of trustees,
          boards of governors, and senior executives of Defendants and
          their co-conspirators who entered into the illicit agreements
          alleged herein; and any and all judges and justices, and
          chambers’ staff, assigned to hear or adjudicate any aspect of
          this litigation.

   2. Plaintiff Dr. Danielle Seaman is appointed class representative.

   3. Lieff, Cabraser, Heimann & Bernstein, LLP, and Elliot Morgan Parsonage,

      P.A., are appointed class counsel.

   4. The motion is otherwise DENIED.

   This the 1st day of February, 2018.




                                       __________________________________
                                        UNITED STATES DISTRICT JUDGE




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